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   AMAZON.COM, INC.
16
                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
18                              SAN FRANCISCO COURTHOUSE
   MASTEROBJECTS, INC.,                      Case No. 3:20-cv-08103-WHA
19
                 Plaintiff,                  Judge William H. Alsup
20                                           Courtroom: 12
          vs.
21                                           DECLARATION OF NEIL G. ANDERSON
   AMAZON.COM, INC.,                         IN SUPPORT OF DEFENDANT
22                                           AMAZON.COM, INC.’S
                 Defendant.
23                                           ADMINISTRATIVE MOTION TO
                                             CONSIDER WHETHER PORTIONS OF
24                                           AMAZON’S PRÉCIS SEEKING LEAVE TO
                                             FILE A MOTION FOR TERMINATING
25                                           SANCTIONS SHOULD BE SEALED
   Complaint Filed: May 5, 2020
26 Trial Date: October 17, 2022

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                                                             Case No. 3:20-cv-08103-WHA
                                                     DECLARATION OF NEIL G. ANDERSON
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 1                               DECLARATION OF NEIL G. ANDERSON

 2             I, Neil G. Anderson, declare as follows:

 3             1.     I am an attorney at the law firm of Hueston Hennigan LLP, counsel of record for

 4 Defendant Amazon.com, Inc. (“Amazon”) in the above-captioned matter. I am a member in good

 5 standing of the State Bar of California and have been admitted to practice before this Court. I have

 6 personal knowledge of the facts set forth in this Declaration and, if called as a witness, could and

 7 would testify competently to such facts under oath.

 8             2.     I submit this declaration in support of Amazon’s Administrative motion to consider

 9 whether portions of its précis seeking leave to file a motion for terminating sanctions (the

10 “Terminating Sanctions Précis”) should be sealed. Amazon’s Administrative Motion moves the

11 Court to consider whether to seal the following items:

12    Document                                              Portion Sought to Be Sealed
      Terminating Sanctions Précis                          Material highlighted at p. 1, lines 8-11
13    Terminating Sanctions Précis                          Material highlighted at p. 2, lines 8-9
14    Terminating Sanctions Précis                          Material highlighted at p. 2, lines 15-16
      Terminating Sanctions Précis                          Material highlighted at p. 2, lines 23-24
15    Terminating Sanctions Précis                          Material highlighted at p. 2, lines 28-37
      Terminating Sanctions Précis                          Material highlighted at p. 2, lines 39-46
16    Terminating Sanctions Précis                          Material highlighted at p. 3, lines 18-19
17    Terminating Sanctions Précis                          Material highlighted at p. 3, lines 28-31
      Terminating Sanctions Précis                          Material highlighted at p. 3, lines 33-36
18    Terminating Sanctions Précis                          Material highlighted at p. 3, lines 45-47

19 Only the portion highlighted in green at p. 2, lines 32-33 reflects highly confidential Amazon

20 information. The remaining portions are MasterObjects material derived from the deposition

21 testimony of Mark Smit, which MasterObjects has designated as “Highly Confidential – Attorneys’

22 Eyes Only” under the Protective Order in this case (ECF 154).

23             3.     In this declaration, I explain why the portion of Amazon’s Terminating Sanctions
24 Précis highlighted in green at p. 2, lines 32-33 is sealable pursuant to Civil Local Rule 79-5 and

25 provide additional facts in support.

26             4.     The Terminating Sanctions Précis at p. 2, lines 32-33 reflects the structure and
27 functionality of Amazon’s proprietary and highly confidential servers and software source code. This

28 two-line portion reflects sealable confidential information regarding the structure and functionality

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                                                                      DECLARATION OF NEIL G. ANDERSON
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 1 of Amazon’s proprietary hardware systems and source code—including information that Amazon

 2 maintains as trade secrets. Amazon expends significant effort to maintain the secrecy of its source

 3 code, including, for example, implementing strict access control procedures to its source code and

 4 internal documentation discussing its source code, software functionality, and hardware systems.

 5 Public disclosure of these kinds of non-public information about the structure and functionality of

 6 Amazon’s hardware and source code for its autocomplete technology may allow a competitor or

 7 other third party to understand or infer information about the inner workings of Amazon’s

 8 confidential source code relating to autocomplete. Thus, public disclosure of these non-public facts

 9 could materially impair Amazon’s intellectual property rights and cause serious competitive

10 consequences to Amazon’s business positioning.

11             5.     In light of the foregoing, both good cause and compelling reasons exist to seal p. 2,

12 lines 32-33 of the Terminating Sanctions Précis

13             Executed on January 31, 2022 in Ladera Ranch, California.

14             I declare under penalty of perjury under the laws of the United States of America that the

15 foregoing is true and correct to the best of my knowledge.

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17                                                           ________________________________
                                                             Neil G. Anderson
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                                                                     DECLARATION OF NEIL G. ANDERSON
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